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                      IN THE UNITED STATES DISTRICT COURT
                  IN THE MIDDLE DISTRICT OF NORTH CAROLINA
                           CIVIL ACTION NO. 1:21-CV-207

 WILMINGTON TRUST, NATIONAL
 ASSOCIATION, not in its individual
 capacity, but solely as trustee for MFRA
 TRUST 2014-2 and FAY SERVICING,
 LLC,
                                                        DECLARATION OF JEFFREY
        Plaintiffs,                                          WEISSMANN

 v.

 NATIONAL GENERAL INSURANCE
 COMPANY d/b/a NATIONAL
 GENERAL INSURANCE,

        Defendant.

         NOW COMES, Jeffrey Weissmann, being first duly sworn, deposes and states as

 follows:

       1.      I am over the age of 18 and am competent to testify as a witness in the above-

captioned case.

       2.      I have personal knowledge of the facts as set forth in this declaration and, if called

as a witness, I could and would competently testify thereto.

       3.      I am the General Counsel and Secretary of National General Management Corp.

(“NGMC”), the parent company of Integon National Insurance Company. I am also General

Counsel and Secretary of National General Holdings Corp. (“NGHC”), the parent company of

National General Insurance Company.

       4.      I have been authorized to make this declaration on behalf of NGMC and NGHC.




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       5.     In the above-reference matter, all relevant insurance policies and renewals were

issued by and underwritten by Integon National Insurance Company.

       6.     “National General” and “National General Insurance” are brand names that are

used by all of the separate wholly owned subsidiaries under the NGMC and NGHC umbrellas.

“National General” and “National General Insurance” are not actual companies, and the use of

these brand names by any two or more subsidiaries does not indicate any connection between

those companies with regard to individual insurance policies or claims.



              FURTHER DECLARANT SAYETH NOT.



                             This the ___5th___ day of April, 2021.




                                                    __                        ____________
                                                    Jeffrey Weissmann




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